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                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In      Debtor(s)
Re:     Dana Michelle Valorie Calhoun                        Case No.: 18−60054−pmb
        6980 Roswell Road                                    Chapter: 13
        Unit M6                                              Judge: Paul Baisier
        Atlanta, GA 30328

        xxx−xx−4203




                                              ORDER OF DISMISSAL



The Chapter 13 Trustee reports that the Debtor(s) has failed to comply with the direction of the Court. Therefore,

IT IS ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court within
fourteen (14) days of the date of the entry of this Order.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), the Chapter 13
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this Order upon
any employer of the Debtor(s) who is subject to an employer deduction order.




                                                             Paul Baisier
                                                             United States Bankruptcy Judge

Dated: September 25, 2018


Form 157
